Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 1 of 51 PageID: 89
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 2 of 51 PageID: 90
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 3 of 51 PageID: 91
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 4 of 51 PageID: 92
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 5 of 51 PageID: 93
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 6 of 51 PageID: 94
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 7 of 51 PageID: 95
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 8 of 51 PageID: 96
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 9 of 51 PageID: 97
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 10 of 51 PageID: 98
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 11 of 51 PageID: 99
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 12 of 51 PageID: 100
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 13 of 51 PageID: 101
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 14 of 51 PageID: 102
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 15 of 51 PageID: 103
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 16 of 51 PageID: 104
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 17 of 51 PageID: 105
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 18 of 51 PageID: 106
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 19 of 51 PageID: 107
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 20 of 51 PageID: 108
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 21 of 51 PageID: 109
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 22 of 51 PageID: 110
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 23 of 51 PageID: 111
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 24 of 51 PageID: 112
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 25 of 51 PageID: 113
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 26 of 51 PageID: 114
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 27 of 51 PageID: 115
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 28 of 51 PageID: 116
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 29 of 51 PageID: 117
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 30 of 51 PageID: 118
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 31 of 51 PageID: 119
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 32 of 51 PageID: 120
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 33 of 51 PageID: 121
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 34 of 51 PageID: 122
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 35 of 51 PageID: 123
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 36 of 51 PageID: 124
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 37 of 51 PageID: 125
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 38 of 51 PageID: 126
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 39 of 51 PageID: 127
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 40 of 51 PageID: 128
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 41 of 51 PageID: 129
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 42 of 51 PageID: 130
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 43 of 51 PageID: 131
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 44 of 51 PageID: 132
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 45 of 51 PageID: 133
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 46 of 51 PageID: 134
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 47 of 51 PageID: 135
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 48 of 51 PageID: 136
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 49 of 51 PageID: 137
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 50 of 51 PageID: 138
Case 1:21-cv-20163-RBK-EAP Document 12 Filed 02/23/22 Page 51 of 51 PageID: 139
